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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MOHSEN JAVAHERNESHAN, §
Individually and on Behalf of All Others §
Similarly Situated §
§
ve § CIVIL ACTION NO. 3:21-CV-815-S
§
MONEYGRAM INTERNATIONAL, INC., §
et al. §

ORDER

This Order addresses the unopposed Motion of Mohsen Javaherneshan for Appointment as
Lead Plaintiff and Approval of Counsel [ECF No. 32]. The Court GRANTS the Motion and orders
as follows:

WHEREAS, the Court has considered the competing motions for Appointment as Lead
Plaintiff and Approval of Counsel,

IT IS HEREBY ORDERED THAT:

1. Having reviewed all pending motions and accompanying memoranda of law, the
Court hereby appoints Mohsen Javaherneshan (“Javaherneshan”) as Lead Plaintiff in the above-
captioned consolidated action (the “Consolidated Action”). Javaherneshan satisfies the
requirements for Lead Plaintiff pursuant to Section 21D(a)(3)(B)Uii) of the Private Securities
Litigation Reform Act of 1995 (the “PSLRA”.

2. Lead Plaintiff, pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, has selected and
retained Pomerantz LLP as Lead Counsel, and The Briscoe Law Firm, PLLC as Liaison Counsel,

for the Class in the Consolidated Action.

 

 
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3. Lead Counsel shall have the following responsibilities and duties, to be carried out
either personally or through counsel, whom Lead Counsel shall designate:

(a) to coordinate the briefing and argument of motions;

(b) to coordinate the conduct of discovery proceedings;

(c) to coordinate the examination of witnesses in depositions;

(d) to coordinate the selection of counsel to act as a spokesperson at pretrial
conferences;

(e) to call meetings of the plaintiffs’ counsel as they deem necessary and
appropriate from time to time;

(f) to coordinate all settlement negotiations with counsel for defendants;

(g) to coordinate and direct the pretrial discovery proceedings and the
preparation for trial and the trial of this matter and to delegate work
responsibilities to selected counsel as may be required; and

(h) to supervise any other matters concerning the prosecution, resolution, or
settlement of this Consolidated Action.

4, No motion, request for discovery, or other pretrial proceedings shall be initiated or
filed by any plaintiffs without the approval of Lead Counsel, so as to prevent duplicative pleadings
or discovery by plaintiffs. No settlement negotiations shall be conducted without the approval of
Lead Counsel.

5. Counsel in any related action that is consolidated with this Consolidated Action
shall be bound by the organization of plaintiffs’ counsel set forth herein,

6. Lead Counsel shall have the responsibility of receiving and disseminating Court

orders and notices.

 

 
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7. Lead Counsel shall be the contact between plaintiffs’ counsel, and shall direct and
coordinate the activities of plaintiffs’ counsel.

8. Defendants shail effect service of papers on plaintiffs by serving a copy of same on
Lead Counsel by overnight mail service, electronic or hand delivery. Plaintiffs shall effect service
of papers on defendants by serving a copy of same on defendants’ counsel by overnight mail
service, electronic or hand delivery.

9, During the pendency of this litigation, or until further order of this Court, the parties
shall take reasonable steps to preserve all documents within their possession, custody, or control,
including computer-generated and stored information, and materials such as computerized data
and electronic mail, containing information which is relevant or which may lead to the discovery
of information relevant to the subject matter of the pending litigation.

SO ORDERED.

SIGNED June, 2021.

 

 

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 
